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14                               UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
16
                                                       Case No. 3:24-cv-00511-JSC
17
     IN RE INMARKET MEDIA LOCATION
18   DATA TRACKING LITIGATION                          JOINT CASE MANAGEMENT
                                                       STATEMENT
19
                                                       Date: August 29, 2024
20                                                     Time: 1:30 p.m.
21                                                     Via Zoom

22                                                     Judge Jacqueline Scott Corley

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 1            Plaintiff Autry Willis (“Plaintiff Willis”) in Willis v. InMarket Media, LLC, No. 3:24-cv-
 2   00511-JSC and Plaintiff Kenneth Kruger (“Plaintiff Kruger”) in Kruger v. InMarket Media, LLC,
 3   No. 3:24-cv-00683-JSC (collectively, “Plaintiffs”) and Defendant InMarket Media, LLC
 4   (“Defendant” and together with Plaintiffs, the “Parties”), by and through their attorneys of record,
 5   submit this Joint Case Management Statement pursuant to the Standing Order for All Judges of the
 6   Northern District of California and Civil Local Rule 16-9.
 7   I.       JURISDICTION AND SERVICE
 8            This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d) because at least
 9   one member of the proposed class is a citizen of a different state than the Defendant, there are more
10   than 100 members of the class, and the aggregate amount in controversy exceeds $5,000,000.00.
11            Plaintiffs assert that personal jurisdiction exists because Defendant purposefully availed itself
12   of this forum by conducting substantial business within California such that Defendant has
13   significant, continuous, and pervasive contacts with the State of California, and that venue is proper
14   in this Court pursuant to 28 U.S.C. § 1391 because Defendant does substantial business in this
15   District and a substantial part of the events giving rise to Plaintiffs’ claims took place within this
16   District. Defendant has not filed a motion under Rule 12 to challenge personal jurisdiction or venue.
17            Service of the Complaints are complete. Plaintiff Willis served Defendant with a copy of her
18   Complaint on February 1, 2024. Plaintiff Kruger served Defendant with a copy of his Complaint on
19   February 13, 2024. Plaintiffs filed a Consolidated Class Action Complaint on July 2, 2024.
20   II.      FACTS
21            Plaintiffs’ Statement: Defendant “is a digital marketing platform and data aggregator that
22   obtains large swaths of personal data on consumers … to facilitate targeted advertising to consumers
23   on their mobile devices for the company’s clients, which include brands and advertising agencies.”
24   Plaintiff’s Motion to Consolidate Cases and Appoint Interim Counsel, Case 3:24-cv-00511, ECF No.
25   11, at 11. In doing so, Plaintiffs allege that Defendant “unlawfully intercepts and collects historic
26   and real-time geolocation data through InMarket-owned and -operated applications, or through the
27   InMarket Software Development Kit (“SDK”) that is embedded into many third-party applications
28   without informed user consent.” Id. Specifically, “InMarket fails to notify the users of its InMarket-
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 1   owned and -operated applications that their location data will be used for targeted advertising and
 2   fails to verify that third-party apps incorporating the InMarket SDK have notified consumers of such
 3   use.” Id. Accordingly, “[t]his alleged unlawful activity amounts to an enormous wealth of data that
 4   InMarket has compiled for its financial gain.” Id. at 12.
 5          Defendant’s Statement:
 6          Defendant disputes Plaintiffs’ claims and many of the relevant facts alleged in the
 7   Consolidated Class Action Complaint. Defendant’s owned-and-operated mobile phone applications
 8   are not properly at issue in this case. Neither Plaintiff alleges that they downloaded, operated, or in
 9   any way used or accessed a mobile phone application owned or operated by Defendant. Defendant
10   further contends that it has, at all relevant times, adequately disclosed its data collection and use
11   activities in compliance with applicable legal requirements. With respect to the “software
12   development kit” that Defendant is alleged to have made available to non-party mobile application
13   developers, Plaintiffs have intentionally refused to disclose what application they downloaded, when
14   they downloaded it, where they used it, or any other information about the factual predicate for their
15   claims. To be clear, Defendant had not located any records related to either Plaintiff. Defendant
16   further disputes Plaintiffs’ allegations regarding the disclosures made by non-party mobile
17   application developers who have used Defendant’s code, and notes that mobile phone operating
18   systems request permissions for collection and/or disclosure of geolocation information. In addition
19   to these factual disagreements, of which there are further, Defendant has filed a motion to dismiss
20   on the grounds that Plaintiffs’ non-conclusory factual allegations, even if taken as true, fail to state
21   a claim as a matter of law.
22   III.   LEGAL ISSUES
23          Plaintiffs’ Statement: Plaintiffs assert seven claims individually and on behalf of all
24   individuals, defined as all persons in California whose data, including but not limited to their
25   geolocation data, was collected by Defendant without their consent, including: (1) Invasion of
26   Privacy; (2) violation of the California Computer Data Access and Fraud Act, Cal. Penal Code. §
27   502; (3) Use of a Pen Register or Trap and Trace Device, Cal. Penal Code § 638.51; (4) Violation of
28   the California Wiretapping Act, Cal. Penal Code § 631; (5) Unfair Practices in Violation of the

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 1   California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200; (6) Unlawful Practices in
 2   Violation of the California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200; and (7) Unjust
 3   Enrichment.
 4          The principal issues in this case relate to whether Defendant’s practices concerning the
 5   collection and sale of users’ geolocation data without their informed consent are deceptive; the nature
 6   of the relief, including equitable relief, to which Plaintiffs and the class are entitled; and whether the
 7   facts support class certification under Rule 23.
 8          Defendant’s Statement:
 9          On August 1, 2024, Defendant filed a motion to dismiss all of Plaintiffs’ claims pursuant to
10   Rule 12(b)(6). Plaintiffs’ invasion of privacy claim fails because they have failed to plead facts
11   sufficient to reflect a legally protected privacy interest and a reasonable expectation of privacy, nor
12   that Defendant invaded any such interest in a prohibited manner. Their California Comprehensive
13   Data Access and Fraud Act claim likewise fails, because they have failed to allege a compensable
14   harm, nor that Defendant knowingly obtained any covered data or information without consent.
15   Plaintiffs’ “pen register” claim under Cal. Pen. Code § 638.51 fails as a matter of law because their
16   non-conclusory allegations fail to identify the existence of a “pen register” maintained or
17   implemented by Defendant, or Defendant’s receipt of information covered by this statute. Plaintiffs’
18   “interception” theory under Cal. Pen. Code § 631 fails for a range of reasons, as certain prongs of
19   this statute are limited to landline telephones, and the others are not applicable here because Plaintiffs
20   did not send or make any communications, nor did Defendant receive or intercept any California
21   Invasion of Privacy Act-covered communications made by Plaintiffs. Plaintiffs’ Unfair Competition
22   Law (“UCL”) claims fail as a matter of law because they have failed to allege facts reflecting
23   statutory standing under the UCL, and because their other legal claims fail. And finally, Plaintiffs’
24   claim for “unjust enrichment” fails because that is not a cause of action under California law.
25          Beyond these arguments, which at present assume the truth of Plaintiffs’ non-conclusry
26   factual allegations, Defendant contends that discovery will yield additional information to support a
27   motion for summary judgment.
28

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 1   IV.     MOTIONS
 2           Plaintiff Willis filed her complaint on January 26, 2024. Plaintiff Kruger filed his complaint

 3   on February 5, 2024. Plaintiffs filed a consolidated amended complaint on July 2, 2024.

 4           Defendant filed a motion to dismiss on August 1, 2024. Plaintiffs will file their opposition

 5   on September 16, 2024. Defendant’s reply is due on October 7, 2024. Defendant’s motion is set

 6   for hearing on November 7, 2024 at 10:00 a.m.

 7           Plaintiffs’ Statement: Plaintiffs intend to file a motion for class certification as outlined in

 8   further detail below.

 9           Defendant’s Statement: Defendant intends to oppose any motion for class certification, and

10   will likely move for summary judgment.

11   V.      AMENDMENT OF PLEADINGS
12           Plaintiffs filed a consolidated amended complaint on July 2, 2024. The Parties reserve their

13   right to seek future leave to amend under Rule 15(a)(2) on any available basis.

14   VI.     EVIDENCE PRESERVATION
15           The Parties certify that they have all reviewed the Guidelines Relating to the Discovery of

16   Electronically Stored Information. The Parties have further agreed, consistent with those Guidelines,

17   to confer regarding the submission of a stipulated Protective Order and a stipulated Protocol for the

18   Preservation and Production of Electronically Stored Information. The Parties currently are taking

19   appropriate steps to preserve documents and data they reasonably believe may be relevant in this

20   litigation.

21   VII.    DISCLOSURES
22           The Parties have not yet served initial disclosures. Pursuant to Rule 26(a)(1)(C), the Parties

23   propose that they serve their initial disclosures by September 19, 2024—21 days after the August 29,

24   2024, Case Management Conference.

25   VIII. DISCOVERY
26           A.     Discovery To Date: Plaintiffs served an initial set of document requests on July 18,

27   2024. Defendant’s discovery responses are due on September 19, 2024. No other discovery has

28   taken place to date and there are no pending discovery disputes.

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 1          B.      Service of Discovery: The Parties agree to accept service of discovery and discovery
 2   responses by e-mail.
 3          C.      Proposed Limitations or Modifications of the Discovery Rules: The Parties agree
 4   to abide by the limitations on discovery imposed by the Federal Rules of Civil Procedure and Civil
 5   Local Rules. If either party later believes that additional discovery is required, the parties will confer
 6   regarding such discovery and the requesting party will seek leave from the Court if an agreement
 7   cannot be reached. The parties further agree to meet and confer on the entry of a Protective Order,
 8   Stipulation for the Preservation and Production of Electronically Stored Information, and Rule
 9   502(d) Order, which they anticipate submitting to the Court within 90 days.
10          D.      Scope of Discovery
11                  1.      Plaintiffs’ Statement: Plaintiffs anticipate the need to conduct discovery on,
12   without limitation, the following areas: (i) pricing, sales data, and profits related to the sale and
13   dissemination of Class members’ geolocation data; (ii) marketing and advertising materials used in
14   connection with the sale or other dissemination of geolocation data; (iii) internal documents and
15   communications regarding the creation of, sale, marketing, dissemination, and advertising of the
16   geolocation data; and (iv) the collection and tracking of geolocation data of Class members.
17                  2.      Defendant’s Statement: Defendant intends to conduct discovery regarding
18   Plaintiffs’ alleged use and interaction with mobile applications using Defendant’s code or which are
19   alleged to have provided information to Defendant. Defendant further intends to conduct discovery
20   regarding the disclosures or information provided by relevant non-party mobile application
21   developers, as well as discovery regarding the knowledge, experiences, and expectations of absent
22   members of the proposed class.
23   IX.    CLASS ACTIONS
24          Consistent with L.R. 16-9(b)’s requirements, Plaintiffs assert that the present action is
25   maintainable as a class action under Fed. R. Civ. P. 23(a)(1)-(4), (b)(2), and (b)(3). The Parties
26   have proposed a schedule regarding class certification, as outlined in Section 15, infra.
27

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 1          Defendant intends to oppose class certification and disagrees that any class can be certified
 2   under Rule 23. All attorneys of record for the Parties have reviewed the Procedural Guidance for
 3   Class Actions Settlement.
 4   X.     RELATED CASES
 5          The Parties are unaware of any cases related to this action pursuant to L.R. 3-12, although
 6   Defendant reserves all rights in this regard if the proposed class is expanded beyond California
 7   residents.
 8   XI.    RELIEF
 9          Plaintiffs seek actual damages and equitable monetary relief, punitive damages, attorneys’
10   fees, costs and expenses, and any other such relief the Court deems appropriate.
11   XII.   SETTLEMENT AND ADR
12          The Parties have not yet had discussions regarding settlement. Plaintiffs believe that some
13   initial discovery is needed for the Parties to be in a position to discuss settlement.
14          The Parties have reviewed the ADR procedures in ADR L.R. 3-5 and submitted their ADR
15   Certifications.
16   XIII. OTHER REFERENCES
17          The Parties do not believe that the case is suitable for reference to binding arbitration, a
18   special master, or the Judicial Panel on Multidistrict Litigation at this time.
19   XIV. NARROWING OF ISSUES
20          The Parties are unaware of any issues that can be narrowed by agreement or motion at the
21   present time.
22   XV.    SCHEDULING
23          The Parties propose the following schedule:
24
                                        Event                              Proposed Deadline
25
                  Exchange of Initial Disclosures                         September 19, 2024
26

27                Deadline to Amend Pleadings (FRCP 15(a)(2))             September 30, 2024

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 1             Deadline for the substantial completion of the
               production of documents responsive to requests             March 18, 2025
 2             served on or before January 13, 2025
 3             Motion to certify class and disclosure of expert
                                                                          April 18, 2025
               reports in support of class certification
 4             Opposition to class certification motion and
                                                                          June 13, 2025
               disclosure of supporting expert reports
 5
               Reply regarding class certification motion                  July 25, 2025
 6
                                                                        90 days after the
 7                                                                      Court’s ruling on
               Completion of all fact discovery
                                                                      Plaintiff’s Motion for
 8                                                                     Class Certification
               Designation of Plaintiffs’ merits experts and
 9                                                                   30 days after the close
               Rule 26(a)(2) disclosures, including expert
                                                                       of fact discovery
10             reports
               Designation of Defendant’s merits experts and         30 days after disclosure
11             Rule 26(a)(2) disclosures, including expert              of Plaintiff’s merits
               reports                                                        experts
12                                                                   30 days after disclosure
               Close of Expert Discovery                              of Defendant’s merits
13
                                                                              experts
14             Deadline to file dispositive motions / Daubert         30 days after the close
               motions                                                  of expert discovery
15                                                                       60 days after the
                                                                         Court’s ruling on
16             Motions in Limine
                                                                      Motions for Summary
17                                                                           Judgment
                                                                      30 days after filing of
               Pretrial Conference
18                                                                      Motions in Limine
                                                                       21 days after Pretrial
19             Trial
                                                                            Conference
20   XVI. TRIAL
21          Both parties demand a jury trial of any claims triable by a jury and expect trial to last
22   approximately 5-10 court days.
23   XVII. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
24          Plaintiffs’ Statement: Plaintiffs are unaware of any non-party interested entities or persons.
25          Defendant’s Statement: Defendants are not presently aware of any non-party interested
26   entities or persons, but as noted above, are presently unaware of the mobile phone applications
27   underlying Plaintiffs’ claims, and may have indemnity rights.
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 1   XVIII. PROFESSIONAL CONDUCT
 2          Counsel for the Parties have reviewed the Guidelines for Professional Conduct for the

 3   Northern District of California and agree to comply with them.

 4   XIX. OTHER
 5          The Parties are not presently aware of any other matters that may facilitate the just, speedy,

 6   and inexpensive disposition of this matter.

 7

 8   Dated: August 22, 2024                BURSOR & FISHER, P.A.

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